                                                                       Case 2:14-cv-02490-ROS Document 129 Filed 09/30/16 Page 1 of 3



                                                                 1   Joseph G. Adams (#018210)
                                                                     Carlie Tovrea (#029709)
                                                                 2   SNELL & WILMER L.L.P.
                                                                     One Arizona Center
                                                                 3   400 East Van Buren, Suite 1900
                                                                     Phoenix, Arizona 85004-2202
                                                                 4   Telephone: 602.382.6000
                                                                     Facsimile: 602.382.6070
                                                                 5   E-Mail: jgadams@swlaw.com
                                                                             ctovrea@swlaw.com
                                                                 6
                                                                     Charles J. Harder (pro hac vice forthcoming)
                                                                 7   Ryan J. Stonerock (admitted pro hac vice)
                                                                     Dilan A. Esper (admitted pro hac vice)
                                                                 8   HARDER MIRELL & ABRAMS L.L.P.
                                                                     132 S. Rodeo Drive, Fourth Floor
                                                                 9   Beverly Hills, California 90067
                                                                     Telephone: (424) 203-1600
                                                                10   E-mail: RStonerock@hmafirm.com
                                                                             DEsper@hmafirm.com
                                                                11
                                                                     Attorneys for Plaintiffs
             One Arizona Center, 400 E. Van Buren, Suite 1900




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Snell & Wilmer




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                      Phoenix, Arizona 85004-2202




                                                                                          IN THE UNITED STATES DISTRICT COURT
                             LAW OFFICES




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                              602.382.6000
                                   L.L.P.




                                                                15                              FOR THE DISTRICT OF ARIZONA

                                                                16
                                                                17   John J. Hurry and Justine Hurry, as husband
                                                                     and wife, Investment Services Corporation,     Case No. 14-cv-02490-PHX-ROS
                                                                18   an Arizona corporation,
                                                                                                                    NOTICE OF APPEARANCE
                                                                19                    Plaintiffs,

                                                                20              v.

                                                                21   Financial Industry Regulatory Authority,
                                                                     Inc., a Delaware corporation, Scott M.
                                                                22   Andersen, a natural person,

                                                                23                    Defendants.

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                                                                 1              Notice is hereby given that Joseph G. Adams and Carlie Tovrea of the law firm of
                                                                 2   Snell & Wilmer L.L.P. will be appearing as local counsel for plaintiffs John J. Hurry,
                                                                 3   Justine Hurry, and Investment Services Corporation. Co-counsel Ryan J. Stonerock and
                                                                 4   Dilan A. Esper from the firm of Harder Mirell & Abrams LLP already have been admitted
                                                                 5   pro hac vice, and additional co-counsel Charles J. Harder will be filing his application for
                                                                 6   admission pro hac vice shortly.
                                                                 7              DATED this 30th day of September, 2016.
                                                                 8                                                        SNELL & WILMER L.L.P.
                                                                 9
                                                                10                                                    By: s/ Joseph G. Adams
                                                                                                                         Joseph G. Adams
                                                                11                                                       Carlie Tovrea
                                                                                                                         One Arizona Center
             One Arizona Center, 400 E. Van Buren, Suite 1900




                                                                12                                                       400 E. Van Buren, Suite 1900
                                                                                                                         Phoenix, Arizona 85004-2202
Snell & Wilmer




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                      Phoenix, Arizona 85004-2202




                                                                                                                          Charles J. Harder
                             LAW OFFICES




                                                                14
                              602.382.6000




                                                                                                                          Ryan J. Stonerock
                                   L.L.P.




                                                                                                                          Dilan A. Esper
                                                                15                                                        HARDER MIRELL & ABRAMS
                                                                                                                          132 S. Rodeo Drive, Fourth Floor
                                                                16                                                        Beverly Hills, California 90067
                                                                17                                                        Attorneys for Plaintiffs
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                                                                 1                                   CERTIFICATE OF SERVICE
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                                                                                I hereby certify that on September 30, 2016, I electronically transmitted the
                                                                 3
                                                                     foregoing document to the U.S. District Court Clerk’s Office using the CM/ECF System
                                                                 4
                                                                     for filing and transmittal of a Notice of Electronic Filing to the CM/ECF registrants on
                                                                 5
                                                                     record.
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                                                                 7   By: s/ Mandy Garsha
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             One Arizona Center, 400 E. Van Buren, Suite 1900




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